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                                      UNITED STATES BANKRUPTCY COURT

                                               Northern District of Georgia


In Re: Debtor(s)
       Pendarvis Williams                                      Case No.: 18−51580−lrc
       1213 Old Greystone Drive                                Chapter: 13
       Lithonia, GA 30038                                      Judge: Lisa Ritchey Craig

       xxx−xx−8225




                                                ORDER OF DISMISSAL



The Chapter 13 Trustee's objection(s) to confirmation came before the Court and

After hearing and for good cause shown, confirmation is denied, and

IT IS ORDERED THAT THIS CASE IS DISMISSED.

Any unpaid filing fees must be paid by the Debtor(s) to the Clerk of the United States Bankruptcy Court within fourteen
(14) days of the date of the entry of this Order.

The Clerk is directed to serve a copy of this Order on the Debtor(s), the Attorney for the Debtor(s), the Chapter 13
Trustee, all creditors and other parties in interest. The Attorney for the Debtor(s) shall serve a copy of this Order upon
any employer of the Debtor(s) who is subject to an employer deduction order.




                                                               Lisa Ritchey Craig
                                                               United States Bankruptcy Judge


Dated: April 24, 2018


Form 155
